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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                       Plaintiffs,                                    4:13CR3130
       vs.
                                                                DETENTION ORDER
JORGE LUIS ORTIZ-LOPEZ,
                       Defendants.

        After conducting a detention hearing and a hearing on defendant’s motion for release
under the Bail Reform Act, 18 U.S.C. § 3142(f), the court denies the defendant’s motion for
release, (Filing No. 64), and concludes the defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.

        Specifically, the court finds there is substantial evidence to support the allegations within
the indictment; the evidence indicates the defendant has several contacts outside Nebraska and a
strong incentive to leave this state; the defendant has limited employment contacts within
Nebraska; he has failed to appear for court proceedings in the past; based on the manner and
content of her testimony, the court is not convinced defendant’s proposed third party custodian
(his wife) will contact the court or pretrial services if the defendant violates the terms of his
pretrial release, and no conditions or combination of conditions are currently available which
will sufficiently ameliorate the risks posed if the defendant is released.

                                 Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       December 20, 2013.
                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
